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				STATE ex rel. OKLAHOMA BAR ASSOCIATION v. DYER2024 OK 54Case Number: SCBD-7680Decided: 06/24/2024THE SUPREME COURT OF THE STATE OF OKLAHOMA

Cite as: 2024 OK 54, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT FOR OFFICIAL PUBLICATION.


STATE OF OKLAHOMA ex rel. OKLAHOMA BAR ASSOCIATION, Complainant,
v.
BLAINE MICHAEL DYER, Respondent.
ORDER OF IMMEDIATE INTERIM SUSPENSION
¶1 The Oklahoma Bar Association (OBA), in compliance with Rules 7.1 and 7.2 of the Rules Governing Disciplinary Proceedings (RGDP), has forwarded to this Court certified copies of the Superseding Information and Judgment In A Criminal Case from the following criminal matter in the United States District Court for the Western District of Oklahoma: United States of America v. Blaine Dyer, case no. CR-22-209-001-JD. Respondent Blaine Michael Dyer pled guilty to Count One of the Superseding Information, Conspiracy to Commit Honest Services Wire Fraud, in violation of title 18, U.S. Code, sections 1346 and 1343. The court sentenced Respondent to imprisonment for a total term of 60 months. Respondent is to surrender to the Bureau of Prisons by noon on July 1, 2024.
¶2 Rule 7.3 of the RGDP provides: "Upon receipt of the certified copies of Judgment and Sentence on a plea of guilty, order deferring judgment and sentence, indictment or information and the judgment and sentence, the Supreme Court may by order immediately suspend the lawyer from the practice of law until further order of the Court." Having received certified copies of these papers and orders, this Court orders that Blaine Michael Dyer is immediately suspended from the practice of law. Blaine Michael Dyer is directed to show cause, if any, no later than July 10, 2024, why this order of interim suspension should be set aside. See RGDP Rule 7.3. The OBA has until July 25, 2024, to respond.
¶3 Rule 7.2 of the RGDP provides that a certified copy of a plea of guilty, an order deferring judgment and sentence, or information and judgment and sentence of conviction "shall constitute the charge and be conclusive evidence of the commission of the crime upon which the judgment and sentence is based and shall suffice as the basis for discipline in accordance with these rules." Pursuant to Rule 7.4 of the RGDP, Blaine Michael Dyer has until August 12, 2024, to show cause in writing why a final order of discipline should not be made. The written return of the lawyer shall be verified and expressly state whether a hearing is desired. The lawyer may in the interest of explaining his conduct or by way of mitigating the discipline to be imposed upon him, submit a brief and/or any evidence tending to mitigate the severity of discipline. The OBA has until August 27, 2024 to respond by submission of a brief and/or any evidence supporting the recommendation of discipline.
¶4 DONE BY ORDER OF THE SUPREME COURT in conference on June 24, 2024.
/S/CHIEF JUSTICE 
ALL JUSTICES CONCUR.




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